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FoR THE WESTERN DISTRICT oF TENNESSEE
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PHILLIP E. BoYNToN, CLARENCE W. MM:A§ 'j. 6ng
BoYNToN, NoRMA ANN LoGAN, W §§ _ ‘ T`t;;wum
RENELDA J. WESTFALL, sHANNoN "'t ~ '~"F)Hls

NONN, AARON SCOTT BERNARD,
ALAN F. BERNARD, LINDA R.
BERNARD, and DAVID ALLEN
BERNAR_D,

Civil Action No. l-02-l l ll
Plaintiffs,

VS.

HEADWATERS, INC., f/k/aj Covol
Technologies, Inc., JAMES G. DAVIDSON,

Defendants.

 

 

W
MOTION FOR PRO HA C VICE

This cause having come before the court upon the l\/[otion to Allow Admission of
Counsel Pro Hac Vice of Brent P. Lorimer of the law finn of Workman, Nydegger, 1000 Eagle
Gate Tower, 60 East South Ternple, Salt Lake City, Utah 84111; telephone: 801/533-9800, as
counsel pro hac vice in the above cause of action, and the Court having heard the same and being
advised, the Court is of the opinion that Brent P. Lorirner is qualified for admission, and the
representation should be confirmed by the Court.

IT IS THEREFORE ORDERED, that Brent P. Lorimer of the law firm of Worl<rnan,
Nydegger, should be and is hereby admitted to appear and act as counsel pro hac vice as counsel

of record for Defendant, Headwaters Inc., in the above-stated case-.

 

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/Qu@m‘(l@@

McCALLA
0ted States District Judge

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 365 in
case 1:02-CV-01111 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

David R. Wright

WORKMAN NYDEGGER & SEELEY
100 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 ll

EdWin E. Wallis

MOSS BENTON & WALLIS, PLLC
325 N. Parkway

P.O. Box 3897

Jackson, TN 38303--389

Charles .1. Veverka

WORKMAN NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 ll

Joseph G Pia

WORKMAN, NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

Greg Oakley

SMALL SOPER & OAKLEY
One Burton Hills Blvd.

Ste. 330

Nashville, TN 37215

Brent P. Lorimer
WORKMAN NYDEGGER
1000 Eagle Gate ToWer

60 East South Temple

Salt Lake City7 UT 841 11

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Larry R. Laycock

WORKMAN, NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

Jeffrey A. Greene

One Burton Hills Blvd
Ste 330

Nashville, TN 37215

R. Parrish Freeman

WORKMAN NYDEGGER & SEELEY
1000 Eagle Gate ToWer

60 E. South Temple

Salt Lake City7 UT 841 11

Brian L. Davis

LAW OFFICE OF BRIAN DAVIS
919 Ferncliff Cove

Suite 1

Southaven, MS 38671

Honorable J on McCalla
US DISTRICT COURT

Filed 07/26/05 Page 4 of 4 Page|D 2644

